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SPEARS & IMES               LLP

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                                                                  February 1, 2019


         BYECF

        Honorable Lorna G. Schofield
        United States District Judge
        Southern District of New York
        40 Foley Square
        New York, New York 10007

                           Jane Doe, et al. v. The Trump Corporation, et al., 18-cv-09936 (LGS)

         Dear Judge Schofield:

                We are counsel for Defendants in the captioned matter and, with the consent of Plaintiffs,
        respectfully write pursuant to Rule III.B.4 of the Court's Individual Rules and Procedures for
        Civil Cases to request the entry of a briefing schedule for Defendants' motion to dismiss
        Plaintiffs' amended complaint, filed on January 31, 2019. By way of background, Plaintiffs filed
        their original complaint on October 29, 2018, and Defendants timely moved to dismiss that
        pleading on January 14, 2019.

               Counsel for the parties have conferred about a proposed briefing schedule for
        Defendants' motion to dismiss the amended complaint and jointly propose the following
        deadlines:

                       •     Defendants will file their motion to dismiss on or before February 21, 2019;

                       •     Plaintiffs will file their opposition to Defendants' motion on or before March 7,
                             2019;and

                       •     Defendants will file their reply on or before March 14, 2019.

                The parties have also agreed, subject to the Court's approval, that the parties will be
        limited to thirty pages for their memoranda in support of and in opposition to the motion, and
        twelve pages for the reply (i.e., the page limits ordered by the Court on December 20, 2018, in
        connection with Defendants' motion to dismiss the original complaint).
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       If Your Honor is inclined to grant these requests, we respectfully ask that Your Honor
enter the proposed order attached.


                                                    Respectfully submitted,

                                                    <J~.,,.        C 1/eu,f,,.-. j'PP!
                                                   Joanna C. Hendon
